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UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT

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Everett McKinley Dirksen United States Courthouse
Room 2722 - 219 S. Dearborn Street
Chicago, Illinois 60604

 

September 27, 2020

By the Court:

 

DEMOCRATIC NATIONAL COMMITTEE, et al.,
Plaintiffs - Appellees

Vv.

Nos. 20-2835 & 20-2844 MARGE BOSTELMANN, et al.,
Defendants
and

WISCONSIN STATE LEGISLATURE, et al.,
Intervening Defendants- Appellants

 

 

Originating Case Information:

 

District Court Nos.: 3:20-cv-00249-wmce, 3:20-cv-00278-wmce, 3:20-cv-00340-wmce, & 3:20-cv-00459-wmce
Western District of Wisconsin
District Judge William M. Conley

 

 

 

The following are before the court:

1. WISCONSIN LEGISLATURE’S EMERGENCY MOTION TO STAY THE
PRELIMINARY INJUNCTION, filed on September 23, 2020, by counsel for
appellant Wisconsin State Legislature.

2. EMERGENCY MOTION OF REPUBLICAN NATIONAL COMMITTEE
AND REPUBLICAN PARTY OF WISCONSIN TO STAY THE
PRELIMINARY INJUNCTION, filed on September 24, 2020, by counsel for
appellants Republican National Committee and Republican Party of
Wisconsin.
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3.

OPPOSITION OF PLAINTIFFS-APPELLEES JILL SWENSON, MELODY
MCCURTIS, MARIA NELSON, BLACK LEADERS ORGANIZING FOR
COMMUNITIES, AND DISABILITY RIGHTS WISCONSIN TO MOTION
TO STAY THE PRELIMINARY INJUNCTION IN CASES NO. 20-CV-249;
20-CV-278; 20-CV-340; AND 20-CV-459, filed on September 25, 2020, by
counsel for the appellees Jill Swenson, Melody McCurtis, Maria Nelson, Black
Leaders Organizing for Communities, and Disability Rights Wisconsin.

OPPOSITION OF PLAINTIFFS-APPELLEES DEMOCRATIC NATIONAL
COMMITTEE AND DEMOCRATIC PARTY OF WISCONSIN TO
EMERGENCY MOTION FOR STAY OF THE DISTRICT COURT’S
PRELIMINARY INJUNCTION, filed on September 25, 2020, by counsel for
appellees Democratic National Committee and Democratic Party of
Wisconsin.

EDWARDS PLAINTIFFS’ CONSOLIDATED OPPOSITION TO
WISCONSIN LEGISLATURE’S EMERGENCY MOTION TO STAY
PRELIMINARY INJUNCTION AND REPUBLICAN NATIONAL
COMMITTEE AND REPUBLICAN PARTY OF WISCONSIN’S
EMERGENCY MOTION TO STAY THE PRELIMINARY INJUNCTION,
filed on September 25, 2020, by counsel for appellees Chrystal Edwards,
Terron Edwards, Kileigh Hannah, Todd Graveline, Jon Graveline, Jean
Ackerman, John Jacobson, Kristopher Rowe, Katie Rowe, Douglas West,
Angela West, Charles Dennert, and William Laske.

GEAR v. BOSTELMANN PLAINTIFFS-APPELLEES’ OPPOSITION TO
INTERVENOR-DEFENDANTS-APPELLANTS’ EMERGENCY MOTION
TO STAY DISTRICT COURT’S PRELIMINARY INJUNCTION, filed on
September 25, 2020, by counsel for appellees Sylvia Gear, Wisconsin Alliance
for Retired Americans, Claire Whelan, League of Women Voters of
Wisconsin, Katherine Kohlbeck, Diane Fergot, Gary Fergot, Bonibet Bahr
Olsan, Sheila Jozwik, and Greg Jozwik.

WISCONSIN LEGISLATURE’S REPLY TO EMERGENCY MOTION TO
STAY THE PRELIMINARY INJUNCTION, filed on
September 26, 2020, by counsel for appellant Wisconsin State Legislature.

REPLY IN SUPPORT OF REPUBLICAN NATIONAL COMMITTEE’S
AND REPUBLICAN PARTY OF WISCONSIN’S EMERGENCY MOTION
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TO STAY THE PRELIMINARY INJUNCTION, filed on September 26, 2020,
by counsel for appellants Republican National Committee and Republican

Party of Wisconsin.

IT IS ORDERED that the district court’s injunction is STAYED pending further
order of this court.

form name: c7_Order_BTC(form ID: 178)
